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16

17                                    UNITED STATES DISTRICT COURT

18                                 NORTHERN DISTRICT OF CALIFORNIA

19                                           SAN JOSE DIVISION

20   APPLE INC., a California corporation,,                  Case No.   5:22-cv-02637-EJD
21                             Plaintiff,                    APPLE INC.’S STATEMENT ON
                                                             EXPEDITED DISCOVERY
22          v.                                               DISPUTE
23   RIVOS, INC., a Delaware corporation; WEN                Courtroom: 4
     SHIH-CHIEH a/k/a RICKY WEN, and                         Judge: Hon. Edward J. Davila
24   BHASI KAITHAMANA,                                       Date Action Filed: April 29, 2022
25                             Defendants.
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 1          Apple presented forensic discovery that, in addition to the two individual defendants,

 2   eight former Apple employees now at Rivos transferred and retained information on devices or

 3   cloud accounts shortly before leaving Apple, and nine others wiped their devices. (See Dkt. 22-4

 4   (“Roffman Dec.”) ¶¶ 25-36.) Rivos never responded as to 16 of the 17 employees.1 It did not

 5   dispute that they have Apple’s information, or offer to return or segregate this information. Rivos

 6   told Apple, however, that it may not contact those employees. Apple also showed that for the

 7   only four employees for whom it has received a response (including the individual defendants),

 8   Apple was correct: they did retain Apple confidential information. The Court proposed that the

 9   parties meet and confer about a protocol that “secures the devices in question” and ordered them

10   to meet and confer on a phased discovery protocol. (See Tr. at 30:7-16; 31:3-25; 48:16-23.)

11          The parties could not reach agreement because Rivos would not even consider a protocol

12   for securing and examining the devices of the former Apple employees who retained Apple

13   confidential information. Rivos refuses to provide any meaningful discovery into anyone besides

14   Ricky Wen. But the parties had already agreed to the protocol for Wen in advance of the hearing.

15   Rivos also backtracked from the assurances it made at the hearing regarding its collection and

16   imaging of the devices of these former employees. Rivos’s shifting answers about what it has

17   imaged and segregated confirm the urgent need for further discovery. Rivos has prevented Apple

18   from obtaining this information from the employees themselves. But Apple now has even less

19   information or assurance from Rivos about what is being done with its trade secrets than it did

20   last week. Apple therefore requests that the Court order the narrowed discovery outlined below.

21                  A.     Apple Proposed a Reasonable, Narrow Set of Expedited Discovery
22          Apple’s proposal for the first phase is that: (1) Rivos provide a neutral vendor the devices

23   and cloud accounts identified in paragraphs 27-36 of the Roffman declaration, along with any

24   devices or accounts on which Rivos has discovered Apple information. These devices and

25

26          1
              Rivos responded only as to one, who retained a Time Machine backup of his entire
     Apple-issued MacBook Pro. (Roffman Dec. ¶ 27.) Rivos confirmed he still possesses Apple’s
27   information, and claims only that he did not access it. Rivos never offered to return or segregate
     the information, and it apparently remains unprotected in his “daughter’s bedroom.” (Tr. at 40.)
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 1   accounts would be subject to the same protocol the parties have agreed upon for Wen; (2) the

 2   parties agree to search terms to be run across these devices and accounts, and the Rivos network;

 3   and (3) the parties agree to depositions of Ricky Wen and Rivos within 14 days. (Declaration of

 4   Kenneth Kuwayti (“Kuwayti Dec.”), Ex. A (June 23 Kuwayti email).)

 5          This is a reasonable approach. The Court itself suggested a protocol in which a third party

 6   reviews the devices Apple identified. (Tr. at 30:7-14.) And the proposal mirrors how Wen’s

 7   device is being handled. Rivos told the Court it had imaged the devices Apple identified (see

 8   Section B below), and the parties have already agreed to a protocol for searching Wen’s devices,

 9   which includes an agreement to negotiate search terms. (See Kuwayti Dec. Ex. B ¶ 8.) Although

10   Rivos’s responses to Apple’s discovery requests are severely deficient, Apple agreed to delay

11   moving to compel on those requests until July 7, or when regular discovery begins. But because

12   it will forego complete responses in the short term, Apple maintained its request for depositions

13   so it can understand how the trade secrets it has demonstrated were retained have been used, and

14   what investigation Rivos has actually done. (See Dkt. 23-1 at 21-25; Dkt. 42 at 12-15.)2

15          Rivos’s proposal, in contrast, offers only discovery to which it had already agreed for

16   Wen, and to allow the neutral vendor to check whether the one employee’s time machine backup

17   was accessed after he left Apple (not to actually be searched for Apple documents, nor to return

18   those documents). (See Kuwayti Dec. Ex. A (June 23 Parker email).) Rivos did not offer to

19   secure the devices of the other employees, segregate them, or allow any discovery of them.

20   Instead, Rivos demanded that Apple turn over “all the forensic information it has related to any

21   former Apple employee now working at Rivos,” and only then would Rivos “look for and

22   sequester the information specifically identified by Apple to the extent any such information is

23   found on Rivos’ systems and devices.” (Id. (emphasis added).) Rivos’ proposal does not even

24   address the information on the employee devices—the key issue on which the Court ordered the

25   parties to confer. And Rivos’ proposal is completely unworkable because it offers to search only

26

27   2
       Apple also narrowed its proposal by removing from the first phase (1) its request for devices
     from the nine individuals who wiped their Apple-issued devices (Roffman Dec. ¶ 25) and (2)
28   depositions of the parties’ forensic experts. (Kuwayti Dec. Ex. A (June 21 Kuwayti email).)

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 1   information Apple “specifically identifie[s].” (Id.) As Roffman’s declaration explains, Apple

 2   cannot know the full extent of the confidential information that has been taken. That requires

 3   examining the devices themselves. (See, e.g., Roffman Dec. ¶¶ 26, 28-29, 31-34, 36.)

 4                  B.      Apple Urgently Needs This Narrow Discovery
 5          Rivos will likely argue discovery should continue on the regular schedule because it has

 6   agreed to abide by its preservation obligations and there is no urgency. But Rivos refuses to give

 7   a straight answer about what it has done to image and segregate Apple’s information. At the

 8   hearing, for the first time, Rivos stated it had already imaged all of the devices Apple identified:

 9                  MR. SWEDLOW: …For every employee where Apple identified a
                    drive, that’s already been imaged. We already did all of that to
10                  preserve everything.
11                  THE COURT: And they have that?
12                  MR. SWEDLOW: They don’t have those images, and here’s the
                    reason why. The federal lawsuit was filed for trade secret
13                  misappropriation against Rivos without any allegation that Rivos
                    did anything.
14

15   (Tr. at 39:4-13.) Rivos argued further that there is no risk to Apple “because for the employees

16   where they have actually filed a lawsuit or specifically identified something, we’ve already

17   eliminated that possibility.” (Tr. 40:6-8; see also Tr. at 45:22-23 (“[w]e’re just saying deny the

18   motion for expedited discovery because everything Apple has identified has been imaged.”).)

19          Rivos backpedaled on all of this on the parties’ meet and confer. Rivos said that its

20   employees’ devices are not in its possession, custody, or control, and refused to say whether

21   Rivos has imaged all of the devices identified by Apple. (Kuwayti Dec. ¶ 4.) Counsel also

22   refused to confirm his assurance to the Court that all devices Apple identified had been

23   segregated. (Id. ¶ 4; Tr. at 39:4-5 (“Every access to whatever Apple identified has been cut

24   off”).) Counsel stated he would clarify whether he had “misspoken” in his statements to the

25   Court. (Kuwayti Dec. ¶ 4.) Apple asked for confirmation on Rivos’ position before filing this

26   brief, but has not heard back. (Id.) These are not minor issues. They are at the heart of this

27   dispute, and Apple’s concern that its former employees still possess its confidential information.

28          Rivos’s failure to confirm whether Apple’s information has been imaged or segregated

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 1   shows why Apple needs immediate Court intervention to protect its trade secrets. Otherwise,

 2   Rivos will continue to give the same noncommittal answers. Even at the hearing, Rivos refused

 3   to give a straightforward answer as to whether Wen retains Apple’s confidential information:

 4                  THE COURT: Pardon me. Wasn’t there some declaration or
                    statement that said he may, from you, your team, that said he may
 5                  have access, may have possession, may have?
 6                  MR. SWEDLOW: So I think those are big differences. So he may
                    have . . . . On that drive may be documents identified by Apple on
 7                  that sheet. There may be documents. He may have inadvertently put
                    something on that drive.
 8

 9   (Tr. 43:4-18 (emphasis added).) Rivos knows the answer. It searched through these files to

10   present the Court with examples of the few files listed on Roffman Appendix B that were not

11   confidential. (See Dkt. 46-6 (“Kunkel Dec.”) ¶ 12.) If Rivos wanted to, it could explain exactly

12   what has been done so far and what it has found. Instead, it continues to hide the ball.

13          This is not a fishing expedition. Apple is seeking discovery only of the Apple documents

14   that were retained. For all four employees for whom Apple has received a substantive response,

15   Apple was correct that they had retained Apple information. (See id. ¶¶ 12, 15; Dkt. 23-1 at 7,

16   10.) Yet nearly two months after filing suit, Apple remains in the same situation: Rivos will not

17   agree to segregate or return Apple information, to search any of the devices Apple identified, or

18   to share information about its investigation. And Rivos has barred Apple from getting answers

19   from Rivos employees directly. Rivos hopes to delay long enough to file a motion to dismiss and

20   try to exit the case without providing Apple any information or assurances at all about the

21   confidential information Apple has demonstrated is in the possession of Rivos employees.

22                  C.     Rivos’s Arguments Against Early Discovery Are Meritless.

23          Rivos argues discovery should proceed on the normal schedule because (1) it also wants

24   discovery (2) it needs more information to search for Apple information, and (3) it does not have

25   custody and control over the employees’ devices. The Court should reject these arguments.

26          First, Apple confirmed it is willing to agree to reasonable Rivos discovery. (Tr. at 55, 57;

27   Kuwayti Dec. Ex. A (June 21 Kuwayti email).) Rivos never proposed discovery requests.

28   Instead it demanded “all the forensic information” Apple has. (Kuwayti Dec. Ex. A (June 23

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 1   Parker email).) This is not reasonable. Apple has not asked for “all” Rivos’ forensic information.

 2   Apple offered to provide a subset of information to the neutral vendor, and perhaps to counsel, if

 3   Rivos will identify what it needs. (Id. (June 23 Kuwayti email).) Rivos did not respond.

 4          Second, Rivos’s claim that it still needs more information before it can search these

 5   devices simply is not true. Rivos should not need Apple’s help to search for Apple documents in

 6   these employees’ devices, but Apple is offering to provide search terms. And Apple provided

 7   Rivos with extensive information in the Complaint, as well as in the Roffman Declaration filed

 8   over a month ago. An example is the employee discussed in paragraphs 35 and 36 of the

 9   declaration. The declaration identified two external USB drives, by serial number, that he

10   connected on his last day of employment, and file paths on one drive that included at least nine

11   folders with titles corresponding to Apple internal SoC project names. (Roffman Dec. ¶¶ 35-36.)

12   This employee is, today, working at Rivos on products to compete with Apple. Rivos has never

13   provided any response to this forensic information. Without discovery, Apple has no way of

14   knowing whether this information is still in the employee’s possession or is being used at Rivos.3

15          Finally, Rivos’s suggestion that it lacks custody and control over the devices is

16   contradicted by its statements to the Court and its demonstrated ability to collect and analyze the

17   Time Machine backup from one employee when it wanted to put forward evidence. (See Kunkel

18   Dec. ¶ 15.) Rivos should not be allowed to collect only the devices it believes provide favorable

19   evidence while shielding the rest. But if Rivos claims it does not have custody or control, that

20   issue is easily solved. The Court should permit Apple to serve subpoenas on its former

21   employees, and the devices can be reviewed pursuant to the Court-ordered protocol.

22          Apple presented detailed, unrebutted forensic evidence that its former employees have

23   kept its confidential information. Apple needs that information back. Apple asks that the Court

24   order its limited proposed discovery, to be completed within 14 days.

25
     3
       Rivos suggested during meet and confer that there was nothing to stop Apple from providing it
26   with search terms. But Rivos had never previously agreed to use search terms and still has not
     done so. Apple also expects Rivos to argue that search terms must be provided before the
27   concept of using search terms can be included in a protocol. This is a made up roadblock. The
     parties agreed to a protocol for Wen which provides that search terms will be later agreed upon by
28   the parties. (See Kuwayti Dec. Ex. B ¶ 8.) The same process should be followed here.

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 1   Dated: June 24, 2022                          MORRISON & FOERSTER LLP

 2

 3                                                 By:   /s/ Kenneth A. Kuwayti
                                                          KENNETH A. KUWAYTI
 4
                                                             Attorneys for Plaintiff
 5                                                           APPLE INC.
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